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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

THE STATE OF TEXAS, et al.,                     §
                                                §       Civil Action No. 4:20-cv-00957-SDJ
                   Plaintiffs,                  §
                                                §
v.                                              §       Hon. Sean D. Jordan
                                                §
GOOGLE LLC,                                     §
                                                §       Special Master: David T. Moran
                   Defendant.
                                                §
                                                §


 PLAINTIFF STATES’ RESPONSE TO GOOGLE’S PARTLY OPPOSED MOTION TO
 SHORTEN THE PERIOD FOR PLAINTIFFS TO RESPOND TO GOOGLE’S MOTION
     TO CLARIFY THE COURT’S SCHEDULING ORDER TO PROVIDE FOR
      POTENTIAL POST-TRIAL PROCEEDINGS ON INJUNCTIVE RELIEF

       The Plaintiff States (“States”) submit this brief response to Google’s Motion to Shorten the

Period for Plaintiffs to Response to Google’s “Motion to Clarify” (ECF No. 551).

       The States do not fully oppose Google’s request for expedited briefing on its Motion to

Clarify—but, instead, respectfully request a modest two-day extension of the States’ deadline to

respond in light of: (a) the issues raised by Google’s 15-page “Motion to Clarify” filed early this

morning, which asks to defer the remedies portion of fact discovery and ongoing expert discovery,

specifically Google’s expert report deadline, until after trial, filed after the States have already

submitted their opening expert reports (including a report addressing remedies); and (b) the

hurricane aftermath in Houston, where many of the State of Texas’s outside counsel reside.

Further, an additional two days in the briefing schedule is not unfair to Google. Google could have

raised its arguments when the parties and the Court were discussing the scheduling order late last

year and earlier this year, before entry of the current Scheduling Order, or at any time before the

now-concluded fact discovery and ongoing expert discovery periods.



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        The States therefore respectfully request the following briefing deadlines: (a) the States’

response be due on Wednesday, July 17, 2024, and (b) Google’s reply be due on Friday, July 19,

2024.




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Respectfully submitted,


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 Submitted on behalf of all Plaintiff States



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                               CERTIFICATE OF SERVICE

       I certify that, on July 11, 2024, this document was filed electronically in compliance with

Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per Local

Rule CV-5(a)(3)(A).

                                                 /s/ Geraldine Young
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